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                  UNITED STATES COURT OF APPEALS
                     FOR THE SEVENTH CIRCUIT

VANESSA WEREKO, in her individual capacity           )
   Plaintiff,                                        )
                           vs.                       )
                                                     )
HON. LORI ROSEN, Associate Judge in Cook County,     )
                                                     )
HON. DAVID E. HARACZ, Associate Judge in Cook        )   Case No. 1:22-cv-02177
County,                                              )
                                                     )
HON. RAUL VEGA, Retired Judge in Cook County,        )   Judge: DURKIN
                                                     )
HON. MARY S. TREW, Associate Judge in Cook County )      Magistrate: COLE
                                                     )
HON. GRACE G. DICKLER, Judge in Cook County,         )
                                                     )   Demand for Jury Trial
KATHLEEN P. LIPINSKI, Licensed Court Reporter,       )
                                                     )
HON. JOSEPH V. SALVI, Associate Judge in Lake        )
County,                                              )
                                                     )
HON. TERRENCE J. LAVIN, Appointed Justice in the     )
Appellate Court of Illinois,                         )
                                                     )
HON. MARY ELLEN COGHLAN, Appointed Justice in )
the Appellate Court of Illinois,
                                                     )
                                                     )
HON. AURELIA MARIE PUCINSKI, Elected Justice in
                                                     )
the Appellate Court of Illinois,
                                                     )
                                                     )
SARAH E. INGERSOLL, Assistant Attorney General,
                                                     )
                                                     )
THERESA A. EAGLESON, Director of the Illinois
Department of Healthcare and Family Services,        )
                                                     )
RICHARD FALEN, Supervisor of Appeals, Illinois       )
Department of Healthcare and Family Services,        )
                                                     )
EMILY YU, Director of Health Information Management, )
NorthShore University HealthSystem,                  )

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PETER HANNIGAN, Superintendent of Hawthorn           )
School District #73,                                 )
                                                     )
PEDRO MARTINEZ, Superintendent of Chicago Public     )   Case No. 1:22-cv-02177
Schools,                                             )
                                                     )
RUSSELL CASKEY, Assistant State Attorney,            )   Judge: DURKIN
                                                     )
ROBERT CASELLI, Officer, Vernon Hills Police Dept.   )   Magistrate: COLE
                                                     )
ADAM BOYD, Officer, Vernon Hills Police Dept.        )
                                                     )   Demand for Jury Trial
TANIA DIMITROVA, Attorney,                           )
                                                     )
BRADLEY R. TROWBRIDGE, Attorney                      )
                                                     )
SAFE TRAVELS CHICAGO, LLC, Supervision Service       )
                                                     )
MAXINE WEISS-KUNZ, Attorney,                         )
                                                     )
STEWART J. AUSLANDER, Attorney,                      )
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KAREN A. ALTMAN, Attorney,                           )
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GARY SCHLESINGER, Attorney,                          )
                                                     )
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                                                     )
TIFFANY MARIE HUGHES, Attorney,                      )
                                                     )
RUSSELL M. REID, Attorney,                           )
                                                     )
CANDACE L. MEYERS, Attorney,                         )
                                                     )
MICHAEL P. DOMAN, Attorney,                          )
                                                     )
STACEY E. PLATT, Attorney,                           )
                                                     )
ELIZABETH ULLMAN, Attorney,                          )
                                                     )
ANDREA D. RICE, Attorney,       Defendants.          )

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              PLAINTIFFS-APPELLANTS DOCKETING STATEMENT

Plaintiff VANESSA WEREKO (“Plaintiff” or “Vanessa”), pursuant to Circuit Court Rule 3(c)(1)

and the District Court’s minute entry orders entered on November 28, 2022 and November 30,

2022, hereby respectfully submits the following as its Docketing Statement:


       1. District Court Jurisdiction


The district court has subject-matter jurisdiction over this action pursuant to 28 U.S.C. § 1331

(federal questions) and 28 U.S.C. § 1343 (civil rights) with Plaintiff raising claims against named

defendants pursuant to 42 U.S.C. §§ 1983, 1985, 1986, 1988. [Dist. Ct. Doc. 1, Dist. Ct. Doc. 7]


       II.     Appellate Jurisdiction


This court has jurisdiction over this appeal pursuant to 28 U.S.C. § 1292(a)(1) because Plaintiff is

appealing from interlocutory orders of the district court relative to an injunction. [Dist. Ct. Doc.

289, Dist. Ct. Doc. 290 and Dist. Ct. Doc. 305].


On August 6, 2022, Plaintiff filed an Emergency Motion for a Preliminary Injunction [Dist. Ct.

Doc. 226] with an affidavit and exhibits of tampering with public state case records germane to

the factual basis of Plaintiff’s claims. The district court chose not to rule on the emergency request

pending responses from defendants to address the “alleged irregularities” of tampered records

claiming lack of knowledge of how state courts maintain their records to require responses by

defendants by August 15, 2022 and a reply from Plaintiff by August 22, 2022 in order to rule.

[Dist. Ct. Doc 229]. On August 16, 2022, Plaintiff timely filed a reply to those defendants who

responded without addressing the alleged tampered public case records to request an evidentiary

hearing. [Dist. Ct. Doc. 241]. On November 28, 2022, the district court denied Plaintiff’s motion

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to vacate the fourth, unjustified extension of time in the case and address of the still pending

Emergency Motion for a Preliminary Injunction [Dist. Ct. Doc. 289]. The district court proceeded

to deny the Emergency Motion for a Preliminary Injunction [Dist. Ct. Doc. 290] in disregard of

Plaintiff’s timely reply [Dist. Ct. Doc. 241] then entered a sua sponte extension of time to

December 5, 2022 for those defendants who failed to respond by August 15, 2022 to instruct them

to agree not to tamper with records to preclude any evidentiary hearing relative to allegations of

tampered state case records in Plaintiff’s motion. On November 29, 2022, Plaintiff filed a Motion

to Vacate or Reconsider [Dist. Ct. Doc. 300], noticed for presentment on December 5, 2022 [Dist.

Ct. Doc. 302]; the district court sua sponte denied the same on November 30, 2022. [Dist. Ct. Doc.

305] Plaintiffs timely filed the notice of appeal in the district court. See Fed. R. App. P. 4(a)(1)(A).


        As set forth in its notice of appeal, Plaintiff seeks review of the district court’s interlocutory

orders on November 28, 2022 and the subsequent November 30, 2022 sua sponte dismissal/denial

of Plaintiff’s Motion to Vacate and Reconsider Pursuant to Fed.R.Civ.P.59 and Fed.R.Civ.P.60

relative to the same Emergency Motion for a Preliminary Injunction filed on August 6, 2022.


        III.    Appeal from a Final Judgment


        As noted above, this is an appeal from interlocutory minute entry orders for an injunction.

No final judgment has been entered in the matter. This appeal is pursued by Plaintiff as a matter

of right pursuant to Rule 3(a) of the Federal Rules of Appellate Procedure and Circuit Rule 3(c).


        IV.     No Prior or Related Appellate Proceedings


        There is no prior, related, or collateral appellate proceedings in relation to this case.




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       V.      Additional Requirements of Circuit Rule 3(c)(1)


       This is a civil case that does not involve any criminal convictions. No designations under

28 U.S.C. § 1915(g) are relevant in this case. This case does not involve a collateral attack on a

criminal conviction.


DATED: November 30, 2022                         Respectfully Submitted,

                                                    /s/ Vanessa Wereko
                                             BY; _____________________________________
                                                    VANESSA WEREKO
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                                                    Email: werekovb@me.com

                                 CERTIFICATE OF SERVICE
The undersigned certifies pursuant to 28 U.S.C. §1746 that a copy of this docketing statement
and referenced Docketing Statement were filed using the Clerk of Court’s Electronic Case Filing
system on November 30, 2022, which provides notification of same to the above-referenced
parties when there has been an appearance filed and as set forth below:
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Executed On: November 30, 2022                  /s/ Vanessa Wereko
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